             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

                        CRIMINAL NO. 3:06CR415


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                  VS.                    )           ORDER
                                         )
                                         )
TAMARA VARNADO                           )
                                         )


      THIS MATTER is before the Court on the Defendant’s motion to

correct a clerical error in the Defendant’s Judgment pursuant to Fed. R.

Crim. P. 36. The Defendant states the Government does not oppose the

relief sought.

      While the Court will grant the motion and add the recommendation

Defendant requests, the Defendant is advised that the Bureau of Prisons is

under no obligation to follow the Court’s recommendation as to her place of

incarceration; in fact, more often than not, the Bureau of Prisons declines

to do so.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to

correct Judgment is ALLOWED, and the Clerk is directed to prepare an




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amended Judgment in a Criminal Case for this Defendant to include a

recommendation to the Bureau of Prisons that the Defendant be

designated to a facility in the Dallas, Texas, area.



                                       Signed: December 12, 2008




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